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                      UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA


 CLINTON BROWN,                               CASE NO. 2:22-cv-09203-MEMF-KS
              Plaintiff,                      Notice of No Reply to Opposition of
       vs.                                    Motion to Strike
 CLARK R. TAYLOR, AICP, THE                   Judge: Honorable Maame Ewusi-
 LOS ANGELES COUNTY                           Mensah Frimpong
 DEPARTMENT OF REGIONAL                       Magistrate Judge: Karen L.
 PLANNING,                                    Stevenson
              Defendant.                      Action Filed: 12/17/2022
                                              Action Due: 01/12/2023

                         NOTICE OF NO REPLY TO
                     OPPOSITION OF MOTION TO STRIKE

 NOTICE TO THE COURT, Plaintiff will not file a reply to DEFENDANT’S
 OPPOSITION TO PLAINTIFF’S MOTION TO STRIKE AFFIRMATIVE
 DEFENSES, (Dk. 45) pursuant to L.R. 7-10 and Civil Minutes – General at 3.
 (Dk.37).

 “I declare (or certify, verify, or state) under penalty of perjury under the laws of the
 United States of America that the foregoing is true and correct.”



 Clinton Brown                                              04/10/2023


                                  NOTICE OF NO REPLY
